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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
         Plaintiff,                              )
                                                 )
v.                                               )      No. 4:97CR00141 ERW
                                                 )
BILLIE JEROME ALLEN,                             )
                                                 )
         Defendant.                              )



                      GOVERNMENT’S RESPONSE TO DEFENDANT’S
                       MOTION FOR APPOINTMENT OF COUNSEL

       Comes now the United States of America, by and through its attorneys, Catherine L.

Hanaway, United States Attorney for the Eastern District of Missouri and Steven E. Holtshouser and

Joseph M. Landolt, Assistant United States Attorneys for said District, and responds to defendant’s

motion for appointment of counsel as follows:

       Section 3599(a)(2) of Title 18 of the United States Code references appointment of counsel

in “any post-conviction proceeding”. Although the language of this statute seems to indicate that

a proceeding should be pending before counsel is appointed, the Government is aware of the

interpretations of 21, U.S.C. §848(q). Without conceding the correctness of said interpretations, the

Government does not oppose defendant’s motion for appointment of counsel. Even though a

petition under 28 U.S.C. § 2255 has not been filed on behalf of Mr. Allen, such a petition is

inevitable and the Government believes that counsel for Mr. Allen would assist the court and all

parties in refining the issues for review.
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       Accordingly, the Government does not oppose defendant’s motion.

                                                     Respectfully submitted,

                                                     CATHERINE L. HANAWAY
                                                     United States Attorney

                                                     /s/ Steven E. Holtshouser
                                                     STEVEN E. HOLTSHOUSER
                                                     Assistant United States Attorney
                                                     111 South 10th Street - 20th Floor
                                                     St. Louis, Missouri 63102
                                                     (314) 539-2200


                                 CERTIFICATE OF SERVICE

I hereby certify that on December 21, 2006, the foregoing was filed electronically with the Clerk of
the Court to be served by operation of the Court's electronic filing system upon the following:

                                          J. W. Simon
                                        P.O. Box 26412
                                  Kansas City, MO 64196-9998



                                                             /s/Steve E. Holtshouser
                                                             Assistant United States Attorney
